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     Attorney for Plaintiff
4

5                                    UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF NEW JERSEY
6
     THOMAS DELEO,                                      )
7                                                       )       Case No.:
                     Plaintiff,                         )
8
                                                        )       2:21-cv-4490
9
             v.                                         )
                                                        )       COMPLAINT AND DEMAND
10   NATIONAL REPUBLICAN                                )       FOR JURY TRIAL
     CONGRESSIONAL COMMITTEE,                           )
11                                                      )
                   Defendant.                           )
12

13                                                  COMPLAINT
14
             THOMAS DELEO (“Plaintiff”), by and through his attorneys, KIMMEL &
15
     SILVERMAN,         P.C.,       alleges   the    following       against   NATIONAL   REPUBLICAN
16
     CONGRESSIONAL COMMITTEE (“Defendant”):
17
                                                INTRODUCTION
18
             1.      Plaintiff’s Complaint is based on the Telephone Consumer Protection Act
19
     (“TCPA”), 47 U.S.C. § 227 et seq.
20
                                         JURISDICTION AND VENUE
21

22           2.      Jurisdiction of this Court arises pursuant to 28 U.S.C. § 1331. See Mims v.

23   Arrow Fin. Services, LLC, 132 S. Ct. 740, 747, 181 L. Ed. 2d 881 (2012).

24           3.      Defendant conducts business in the State of New Jersey and as such, personal

25   jurisdiction is established.


                                                            1

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            4.      Venue is proper pursuant to 28 U.S.C. § 1391(b)(2).
1
                                                  PARTIES
2

3
            5.      Plaintiff is a natural person residing in North Caldwell, NJ 07006.

4           6.      Plaintiff is a “person” as that term is defined by 47 U.S.C. § 153(39).

5           7.      Defendant is a corporation that has its headquarters located at 320 First Street,

6    SE, Washington, DC 20003.
7           8.      Defendant is a “person” as that term is defined by 47 U.S.C. §153(39).
8
            9.      Defendant acted through its agents, employees, officers, members, directors,
9
     heirs, successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers.
10
                                       FACTUAL ALLEGATIONS
11
            10.     Defendant devised and implemented a campaign marketing strategy which
12
     includes the transmission of text messages through use of an automatic telephone dialing system.
13
            11.     Plaintiff received multiple text messages from Defendant to his cellular telephone
14
     XXX-XXX-0372.
15

16          12.     Defendant did not obtain express consent from Plaintiff prior to sending the

17   Plaintiff the unsolicited text messages.

18          13.     Plaintiff never provided his cellular telephone number to Defendant, has no

19   affiliation with Defendant, has never provided any donations to Defendant, and has not attended
20   any rallies organized by Defendant.
21
            14.     Plaintiff has been on the Do Not Call Registry since May 9, 2009.
22
            15.     These unsolicited text messages placed to Plaintiff’s cellular telephone were
23
     placed using an automated telephone dialing system (ATDS).
24
            16.     The text messages were not sent to Plaintiff for “emergency purposes.”
25



                                                        2

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             17.      The actions described herein were in violation of the TCPA.
1

2                                               COUNT I
                             Defendants Violated the TCPA 47 U.S.C. § 227(b)
3
             18.      Plaintiff incorporates the forgoing paragraphs as though the same were set forth at
4
     length herein.
5
             19.      The TCPA prohibits placing calls or text messages using an automatic telephone
6
     dialing system or automatically generated or prerecorded voice to a cellular telephone except
7

8    where the caller has the prior express consent of the called party to make such calls or where the

9    call is made for emergency purposes. 47 U.S.C. § 227(b)(1)(A)(iii).

10           20.      Defendant initiated multiple text messages to Plaintiff’s cellular telephone

11   number using an automatic telephone dialing system.
12           21.      Defendant’s texts were not made for “emergency purposes.”
13
             22.      Defendant’s texts to Plaintiff’s cellular telephones without any prior express
14
     consent.
15
             23.      Defendant contacted Plaintiff despite the fact that Plaintiff has been on the Do
16
     Not Call Registry.
17
             24.      Defendant’s acts as described above were done with malicious, intentional,
18
     willful, reckless, wanton and negligent disregard for Plaintiff’s rights under the law and with the
19

20
     purpose of harassing Plaintiff.

21           25.      The acts and/or omissions of Defendant were done unfairly, unlawfully,

22   intentionally, deceptively and fraudulently and absent bona fide error, lawful right, legal defense,

23   legal justification or legal excuse.

24

25



                                                       3

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             26.      As a result of the above violations of the TCPA, Plaintiff has suffered the losses
1
     and damages as set forth above entitling Plaintiff to an award of statutory, actual and trebles
2

3
     damages.

4                                              COUNT II
                             Defendant Violated the TCPA 47 U.S.C. § 227(C)
5
             27.      Plaintiff incorporates the forgoing paragraphs as though the same were set forth at
6
     length herein.
7
             28.      The TCPA prohibits any person or entity of initiating any telephone solicitation to
8
     a residential telephone subscriber who has registered his or his telephone number on the National
9

10
     Do-Not-Call Registry of persons who do not wish to receive telephone solicitations that is

11   maintained by the Federal Government. 47 U.S.C. § 227(c).

12           29.      Defendant contacted Plaintiff despite the fact that Plaintiff has been on the Do

13   Not Call Registry since June 2004.

14           30.      Defendant’s acts as described above were done with malicious, intentional,
15
     willful, reckless, wanton and negligent disregard for Plaintiff’s rights under the law and with the
16
     purpose of harassing Plaintiff.
17
             31.      The acts and/or omissions of Defendant were done unfairly, unlawfully,
18
     intentionally, deceptively and fraudulently and absent bona fide error, lawful right, legal defense,
19
     legal justification or legal excuse.
20
             32.      As a result of the above violations of the TCPA, Plaintiff has suffered the losses
21
     and damages as set forth above entitling Plaintiff to an award of statutory, actual and trebles
22

23   damages.

24

25



                                                       4

                                            PLAINTIFF’S COMPLAINT
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             Wherefore, Plaintiff, Thomas DeLeo, respectfully prays for judgment as follows:
1
                    a.     All actual damages Plaintiff suffered (as provided under 47 U.S.C. §
2

3
                           227(b)(3)(A));

4                   b.     Statutory damages of $500.00 per violative telephone call (as provided

5                          under 47 U.S.C. § 227(b)(3)(B));

6                   c.     Additional statutory damages of $500.00 per violative telephone call (as
7                          provided under 47 U.S.C. § 227(C);
8
                    d.     Treble damages of $1,500.00 per violative telephone call (as provided
9
                           under 47 U.S.C. § 227(b)(3));
10
                    e.     Additional treble damages of $1,500.00 per violative telephone call (as
11
                           provided under 47 U.S.C. § 227(C);
12
                    f.     Injunctive relief (as provided under 47 U.S.C. § 227(b)(3) and (c); and
13
                    g.     Any other relief this Honorable Court deems appropriate.
14

15

16                                   DEMAND FOR JURY TRIAL
17           PLEASE TAKE NOTICE that Plaintiff, THOMAS DELEO, demands a jury trial in this
18
     case.
19
                          CERTIFICATION PURSUANT TO L.CIV.R.11.2
20
             I hereby certify pursuant to Local Civil Rule 11.2 that this matter in controversy is not
21
     subject to any other action pending in any court, arbitration or administrative proceeding.
22

23

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                                                      5

                                         PLAINTIFF’S COMPLAINT
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                                     RESPECTFULLY SUBMITTED,
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3
                                      By: /s/ Amy L. Bennecoff Ginsburg
     DATED: 03/09/2021
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                               PLAINTIFF’S COMPLAINT
